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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE


In re:                                                    Chapter 7

BAYOU STEEL BD HOLDINGS, L.L.C.,                          Case No. 19-12153 (KBO)
et al., 1

                          Debtors.                        (Jointly Administered)


GEORGE L. MILLER, in his capacity as
Chapter 7 Trustee for the jointly administered
bankruptcy estates of Bayou Steel BD                      Adv. Proc. No.: 21-51013 (KBO)
Holdings, L.L.C., et al.,
                                                          RE: Adv. D.I. 1, 25, 26, 27, 28, 29,
                                                          31, 35, 46, 47, 48, 49
                          Plaintiff,

         v.

BLACK DIAMOND CAPITAL
MANAGEMENT, L.L.C.; BDCM
OPPORTUNITY FUND IV, L.P.; BLACK
DIAMOND COMMERCIAL FINANCE,
L.L.C.; SAM FARAHNAK; PHIL
RAYGORODETSKY; ROB
ARCHAMBAULT; TERRY TAFT; and BOB
UNFRIED,

                          Defendants.

                       JOINT NOTICE OF COMPLETION OF BRIEFING

         PLEASE TAKE NOTICE that briefing concerning (a) the Independent Directors’ Motion

to Dismiss [Adv. D.I. 25] and (b) Defendants Black Diamond Capital Management, L.L.C.,




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         The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
         identification number, are Bayou Steel BD Holdings, L.L.C., a Delaware limited liability company (1984),
         BD Bayou Steel Investment, LLC, a Delaware limited liability company (1222), and BD LaPlace, LLC, a
         Delaware limited liability company (5783).




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BDCM Opportunity Fund IV, L.P., Black Diamond Commercial Finance, L.L.C, Sam Farahnak,

and Phil Raygorodetsky’s Motion to Dismiss [Adv. D.I. 27] has been completed.

       Pleadings relevant to these matters are as follows:

       1.     Complaint, filed 8/11/2021 [Adv. D.I. 1];

       2.     Independent Directors’ Motion to Dismiss, filed 11/22/2021 [Adv. D.I. 25];

       3.     Opening Brief in Support of Independent Directors’ Motion to Dismiss, filed
              11/22/2021 [Adv. D.I. 26];

       4.     Defendants Black Diamond Capital Management, L.L.C., BDCM Opportunity
              Fund IV, L.P., Black Diamond Commercial Finance, L.L.C, Sam Farahnak, and
              Phil Raygorodetsky’s Motion to Dismiss, filed 11/22/2021 [Adv. D.I. 27];

       5.     Memorandum in Support of Defendants Black Diamond Capital Management,
              L.L.C., BDCM Opportunity Fund IV, L.P., Black Diamond Commercial Finance,
              L.L.C, Sam Farahnak, and Phil Raygorodetsky’s Motion to Dismiss, filed
              11/22/2021 [Adv. D.I. 28];

       6.     [SEALED] Declaration of William J. Trunk in Support of Motion to Dismiss,
              filed 11/22/2021 [Adv. D.I. 29];

       7.     Proposed Order Dismissing Complaint, filed 11/22/2021 [Adv. D.I. 31];

       8.     Plaintiff’s Omnibus Memorandum of Law in Opposition to Defendants’ Motions
              to Dismiss, filed 1/24/2022 [Adv. D.I. 35];

       9.     Reply in Support of Defendants Black Diamond Capital Management, L.L.C.,
              BDCM Opportunity Fund IV, L.P., Black Diamond Commercial Finance, L.L.C,
              Sam Farahnak, and Phil Raygorodetsky’s Motion to Dismiss, filed 2/28/2022
              [Adv. D.I. 46];

       10.    Reply Brief in Support of Independent Directors’ Motion to Dismiss, filed
              2/28/2022 [Adv. D.I. 47];

       11.    Request for Oral Argument, filed 3/3/2022 [Adv. D.I. 48]; and

       12.    Request for Oral Argument, filed 3/3/2022 [Adv. D.I. 49].

       Counsel respectfully submits that these matters are ready for disposition.




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Dated: March 10, 2022
Wilmington, Delaware


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                               CERTIFICATE OF SERVICE

        I, Kevin M. Capuzzi, hereby certify that, on March 10, 2022, a true and correct copy of

the foregoing Joint Notice of Completion of Briefing was served via CM/ECF on the parties

listed below:

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